                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
                                              )      No. 3:11-00020-2
       v.                                     )      CHIEF JUDGE HAYNES
                                              )
AUSTIN MICHAEL EVANS                          )



                          GOVERNMENT’S RESPONSE TO
                      DEFENDANT’S MOTION TO SEVER PARTIES

       COMES NOW the United States of America, by and through the undersigned Assistant

United States Attorneys, and provides the following response to Defendant Austin Michael Evans’s

Motion to Sever Parties. (D.E. # 164). After consideration of defendant’s motion, the government

submits that it has no opposition to a severance of Defendant Evans from Defendant Pecora. Counsel

for the government will consulate with counsel for the defendant Evans to reset the case for trial.




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                                           Conclusion

       Accordingly for the reasons stated herein, the defendant’s Motion to Sever Parties should be

granted.

                                                     Respectfully submitted,
                                                     /s Philip H. Wehby
                                                     PHILIP H. WEHBY
                                                     Assistant United States Attorney
                                                     110 9th Avenue South, Suite A-961
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been forwarded

via electronic filing to Peter Strianse, counsel for the defendant Evans, on this the 23rd day of

October, 2012.



                                                     /s Philip H. Wehby
                                                     PHILIP H. WEHBY




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